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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA

UNITED STATES OF AMERICA,
Plaintiff,

v.                                                       Case No. 6:24-cr-137

JORDANISH TORRES-GARCIA,
Defendant.
_________________________________/


                MOTION FOR APPOINTMENT OF LEARNED COUNSEL
                         PURSUANT TO 18 U.S.C. § 3005

       The Defendant, by and through undersigned Counsel, moves this Honorable Court for an

order appointing counsel “learned in the law applicable to capital cases” (hereinafter “learned

counsel”) under 18 U.S.C. § 3005.

                                       INTRODUCTION

       The defendant is charged in Count One of the Indictment with Carjacking Resulting in

Death, in violation of 18 U.S.C. § 2119(3) and Use of a Firearm in the Commission of a Crime

of Violence, Resulting in Death, a violation of 18 U.S.C § 2119 also an offense for which the

death penalty is a potential punishment. The defendant has appointed counsel under the Criminal

Justice Act (CJA) and qualifies financially for appointed learned counsel.

                                  MEMORANDUM OF LAW

       18 U.S.C. § 3005 states, in pertinent part:

       “Whoever is indicted for treason or other capital crime shall be allowed to make
       his full defense by counsel; and the court before which the defendant is to be
       tried, or a judge thereof, shall promptly, upon the defendant's request, assign 2
       such counsel, of whom at least 1 shall be learned in the law applicable to capi-
       tal cases, and who shall have free access to the accused at all reasonable hours. In
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       assigning counsel under this section, the court shall consider the recommendation
       of the Federal Public Defender organization, or, if no such organization exists in
       the district, of the Administrative Office of the United States Courts.” (emphasis
       added)

       As the First Circuit has held, under § 3005, “promptly means promptly after indictment,

not after the Attorney General has made a determination to seek the death penalty”. In re Ster-

ling-Suarez, 306 F.3d 1170 (1st Cir., 2002). See also, United States v. Cordova, 806 F.3d 1085,

1101, 420 U.S. App. D.C. 138 (D.C.C. 2015) “Even among courts that disagree as to whether

[learned counsel] is required after the government announces that it will not seek the dealt penal-

ty, there is agreement that ‘prompt’ means promptly after indictment, and not later … While the

death penalty is still on the table, there is a specific role for an attorney ‘learned in the law ap-

plicable to capital cases’ to play in the defense.”, United States v. Medina-Rivera, 285 F. Supp.

3d 505, 507-08 (D.P.R. 2018) “The triggering event for the appointment of learned counsel is

the filing of the indictment.” citing Sterling Suarez; Guide to Judiciary Policy, Vol 7 Defender

Services, Part A Guidelines for Administering the CJA and Related Statutes, Chapter 6: Federal

Death Penalty and Capital Habeas Corpus Representations, § 620.10.10 (a)(“As required by 18

U.S.C. § 3005, at the outset of every capital case, courts should appoint two attorneys, at least

one of whom is experienced in and knowledgeable about the defense of death penalty cases.”

emphasis added

       The historical commentary to the American Bar Association Guidelines for the Appoint-

ment and Performance of Defense Counsel in Death Penalty Cases (2003) makes clear that:

       The period between an arrest or detention and the prosecutor's declaration of intent to
       seek the death penalty is often critically important. … [E]ffective advocacy by defense
       counsel during this period may persuade the prosecution not to seek the death penalty.
       Thus, it is imperative that counsel begin investigating mitigating evidence and assem-


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        bling the defense team as early as possible-- well before the prosecution has actually
        determined that the death penalty will be sought. (emphasis added)

        The complex nature of the investigation and preparation of a capital case, including is-

sues relating to the pre-trial death penalty authorization procedures (often referred to as the “DOJ

Protocol” and described more fully in the Justice Manual (formerly United States Attorneys’

Manual), § 9-10.000, et. seq., mandate that learned counsel be appointed at the earliest time pos-

sible. See Generally, In re Sterling Suarez, supra, and American Bar Association Guidelines for

the Appointment and Performance of Defense Counsel in Death Penalty Cases (2003), supra.

        As set forth above, 18 U.S.C.§ 3005 requires the Court to “consider the recommendation

of the Federal Public Defender organization”. A 2019 amendment to Judicial Conference policy

expands upon this statutory requirement, and provides that:

        Judges should consider and give due weight to the recommendations made by
        federal defenders and resource counsel and articulate reasons for not doing so.
        See: JCUS-MAR 2019, pp. 18-20.

        § 620.30 Procedures for Appointment of Counsel in Federal Death Penalty Cases

        Both the Federal Defender, Alec Hall and Resource Counsel, Steve Potolsky have been consulted

on this matter, and concur in the request that Todd Doss be appointed Learned Co-counsel to assist the

undersigned Counsel.

        The concurrence of the Federal Defender and Capital Resource Counsel in the

appointment of Todd Doss as Co-learned Counsel is well founded. For over 30 years, Mr. Doss

has provided Capital representation at the trial level, on appeals and during post conviction

litigation.

        Further, for a period of 5 years, Mr. Doss served as Chairperson of the Florida

Association of Criminal Defense Lawyer’s Death Penalty Committee. During that time, Mr.



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Doss organized and lectured at the Association’s annual Death is Different Seminar. Noting Mr.

Doss’ previous lengthy employment as an Assistant Federal Defender in the Federal District

Court for the Middle District of Florida, including assignments as Learned Counsel in Capital

Cases, Counsel has a good faith belief that the United States and the Judiciary of the Middle

District has full knowledge of Mr. Doss’ qualifications, however, if directed Counsel will

provide a full curriculum vitae.

       WHEREFORE, the Defendant respectfully requests that this Honorable Court “prompt-

ly” appoint Todd Doss as “learned counsel” under 18 U.S.C. § 3005.

                                    CERTIFICATE OF SERVICE

       I hereby certify that on the 29th day of May 2024, I electronically filled the foregoing
with the clerk of the court by using the CM/ECF system with the notice of electronic filing there
by issued to the Office of the United States Attorney.


                                                     _/s/ Roger L. Weeden_______
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